877 F.2d 727
    FEDERAL SAVINGS AND LOAN INSURANCE CORPORATION, asConservator for Bohemian Savings and LoanAssociation, Appellant,v.John V. CAPOZZI, Margaret A. Capozzi, Dan L. Wood, VincentJ. Bommarito, Thomas F. Cline, Daniel L. Dierdorf,Robert C. Fechner, Floyd L. Shearin,Jacob Fishman, and GregorySaban, Appellees.
    No. 87-1696.
    United States Court of Appeals,Eighth Circuit.
    June 20, 1989.
    
      On Remand from the Supreme Court of the United States.
      Before FAGG and WOLLMAN, Circuit Judges, and HENLEY, Senior Circuit Judge.
    
    ORDER
    
      1
      In our earlier decision in this case, we upheld the district court's dismissal for lack of subject matter jurisdiction of claims brought by the Federal Savings and Loan Insurance Corporation (the FSLIC) in its capacity as conservator for Bohemian Savings and Loan Association (Bohemian).  See FSLIC v. Capozzi, 855 F.2d 1319, 1326 (8th Cir.1988), petition for cert. filed, 57 U.S.L.W. 3522 (U.S. Feb. 2, 1989) (No. 88-1300).  The United States Supreme Court granted the petition for certiorari, vacated our judgment, --- U.S. ----, 109 S.Ct. 2058, 104 L.Ed.2d 624 (1989), and remanded the case for further consideration in light of the Court's decision in FSLIC v. Ticktin, --- U.S. ----, 109 S.Ct. 1626, 104 L.Ed.2d 73 (1989).
    
    
      2
      In Ticktin, the Supreme Court held federal subject matter jurisdiction exists for the type of lawsuit the FSLIC brings in this case.  See id. 109 S.Ct. at 1627-29.    Accordingly, we reverse and remand to the district court for further proceedings on the FSLIC's claims.
    
    